Case 2:04-cr-20336-SH|\/| Document 34 Filed 05/24/05 Page 1 of 2 Page|D 38

H| tzi’.} f.' "{_

 

IN THE UNITED STATES DISTRICT coURT ~ .. i. `__5.<:_
FoR THE WESTERN DISTRJCT oF TENNESSEE 05 mg u
WESTERN DIVISION ' ’ 2b 1551 6¢ 33
if‘$;|’f;q{;\ l T-`: n jji"'~;""“-ll§`!`.
UNnED STATES oF AMERICA, "'*"J~‘¢'“'f-HS
vs. No. 04-20336-Ma
GARY WooDARD,
Defcndant.

 

ORDER RESETTING SENTENCING DATE

 

Before the court is the government’S May 23, 2005 motion to continue the Sentencing
hearing For good cause Shown, the motion is granted The Sentencing of defendant Gary Woodard
is reset to Thursday, June 23, 2005 at 9:00 a.m.

n IS So oRDERED this ls/tday OfMay, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket£€»/heetl co?l!anc¢a
th mile 55 and/or 32{5) FRch on ,Q “£§&O

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20336 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Doris Holt-Randle

Federal Defender's Offlce
100 N. Main ]BIdg.7 Suite 410
1\/1emphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

